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                                                                                FILED
                        UNITED STATES COURT OF APPEALS                          APR 13 2017

                                                                             MOLLY C. DWYER, CLERK
                               FOR THE NINTH CIRCUIT                          U.S. COURT OF APPEALS




 VOTING RIGHTS DEFENSE PROJECT                     No. 16-16717
 and AMERICAN INDEPENDENT
 PARTY,                                            D.C. No. 3:16-cv-02739-WHA
                                                   Northern District of California,
                 Plaintiffs-Appellants,            San Francisco

 and
                                                   ORDER
 CLARA DAIMS and SUZANNE
 BUSHNELL,

                 Plaintiffs,

 v.

 ALEX PADILLA, in his official capacity
 as Secretary of State; et al.,

                 Defendants-Appellees.



        The appellants’ motion (Docket Entry No. 13) for voluntary dismissal is

granted. This appeal is dismissed. Fed. R. App. P. 42(b). A copy of this order

sent to the district court shall act as and for the mandate of this court.




tah/4.10.17/Pro Mo
           Case: 16-16717, 04/13/2017, ID: 10394887, DktEntry: 14, Page 2 of 2




                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT


                                               By: Terri Haugen
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7




tah/4.10.17/Pro Mo                         2                                     16-16717
